Case 08-14631-GMB          Doc 203-1 Filed 04/23/08 Entered 04/23/08 15:41:02             Desc
                             Certificate of Service Page 1 of 1



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                           :
In re:                                     :      Chapter 11
                                           :
SHAPES/ARCH HOLDINGS LLC, et al.           :      Case No. 08-14631 (GMB)
                                           :
         Debtors.                          :
                                           :

                                 CERTIFICATE OF SERVICE

                I hereby certify that on the date set forth below I served a copy of PPL

ENERGYPLUS, LLC’S Notice of Appearance and Demand for Service of Papers to be served

by U.S. Mail, postage pre-paid on Debtors’ counsel at the address below and via CM/ECF.

Jerrold N. Poslusny, Jr., Esq.
Cozen O’Connor
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457 Haddonfield Road
Cherry Hill, NJ 08002


Dated: April 23, 2008                      /s/ Andrew J. Flame
                                           Andrew J. Flame




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